
PER CURIAM.
Appellant, Carlos Cabrera, appeals the denial of a motion for rehearing. Subséquent to filing the motion for rehearing, Cabrera filed a notice of appeal from the denial of the motion for post conviction relief to which the motion for rehearing is addressed.
Cabrera’s action in filing a notice of appeal divests the trial court of jurisdiction in this matter and is an effective abandonment of the motion for rehearing. See In re: Forfeiture of $104,591 in U.S. Currency, 589 So.2d 283, 284-85 (Fla.1991).
Appeal dismissed.
CAMPBELL, A.C.J., and PARKER and BLUE, JJ., concur.
